
MEMORANDUM**
Mohammad Reza Khaligh (“Khaligh”), his wife Reihaneh Khaligh, and their three minor children, all natives and citizens of Iran, petition for review of the Board of Immigration Appeals’ (“BIA”) summary affirmance of an immigration judge’s (“IJ”) denial of their applications for asylum and withholding of removal. We have jurisdiction under 8 U.S.C. § 1252. We review claims of due process violations de novo, Lopez-Urenda v. Ashcroft, 345 F.3d 788, 791 (9th Cir.2003), and review the denial of asylum and withholding of removal for substantial evidence, Reyes-Guerrero v. INS, 192 F.3d 1241, 1244 (9th Cir.1999). We deny the petition for review.
Khaligh testified that he fears persecution in retaliation for his opposition to government corruption during his tenure as a government employee in Iran. Taking the Petitioner’s testimony as true, substantial evidence supports the IJ’s conclusion that Petitioner did not establish past persecution. Because the Iranian government’s motives for not renewing Khaligh’s export license and for putting a lien on his home may have been legally legitimate, these acts did not rise to the level of persecution. See Fisher v. INS, 79 F.3d 955, 961-62 (9th Cir.1996). Even if these government acts were motivated by some animus, Khaligh failed to show that government actors were singling him out for his political opinion, rather than selectively prosecuting him for personal reasons. See Molina-Morales v. INS, 237 F.3d 1048, 1052 (9th Cir.2001) (noting that purely per*135sonal retribution is not persecution on account of political opinion). Moreover, Khaligh failed to show “by credible, direct, and specific evidence in the record,” that he had a well-founded fear that the Iranian authorities would persecute him in the future on the basis of his political opinion. See Fisher, 79 F.3d at 963.
Because Petitioners did not establish eligibility for asylum, it follows that they did not satisfy the more stringent standard for withholding of removal. See Farah v. Ashcroft, 348 F.3d 1153, 1156 (9th Cir. 2003).
Petitioners’ due process challenge to the BIA’s streamlining procedures is foreclosed by Falcon Carriche v. Ashcroft, 350 F.3d 845, 852-55 (9th Cir.2003).
Pursuant to Desta v. Ashcroft, 365 F.3d 741 (9th Cir.2004), Petitioners’ motion for stay of removal included a timely request for stay of voluntary departure. Because the motion for stay of removal was continued based on the government’s filing of a notice of non-opposition, the voluntary departure period was also stayed, nunc pro tunc, to the filing of the motion for stay of removal and this stay will expire upon issuance of the mandate.
PETITION FOR REVIEW DENIED.

 This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3.

